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January 10, 2019

Via e-mail to howardl'i'il.summacanital.com
Howard Schulder, Esq.

President

Summa Capital Corp.

Empire State Building

350 Fifth Avenue, Suite 7612

New York, NY 10118

Re: In re Bagbag, Case No. 08-12667-mew, United States Bankruptcv Court
for the Southern District of New York [ the “Bankruptcj,j Court”]

Dear Howard,

This law firm represents Boaz Bagbag (the “Debtor”). The Debtor has indicated that he
was recently contacted regarding the payment of a judgment entered on June 10, 2010
that your company, Summa Capital Corp. (“Summa”) obtained against the Debtor in the
above-referenced bankruptcy case. The Debtor’s position is that Summa’s judgment was
fully satisfied through the sale of Pace Product Solutions, lnc. (“Pace”)’s inventory and
the collection of its accounts receivable, and that no monies are due and owing to Summa
from the Debtor, notwithstanding the judgment

lt should be noted that: (l) the Debtor did not receive notice of the auction pursuant to
NY Uniform Commercial Code (“UCC”) § 9-611 (which is not waivable prior to default
pursuant to NY UCC § 9-624(a); (2) the auction was not held in a commercially
reasonable manner; (3) the Debtor alleges that Summa sold Pace’s inventory and did not
account for its Sales in offsetting the judgment against him; (3) the auctioneer and Summa
did not prepare an accounting of the auction sale as required by a stipulation and
foreclosure order so ordered by the Bankruptcy Court or identify the amount of monies
generated by the sale of Pace’s inventory; and (4) since the sale of Pace’s inventory and
collection of its accounts receivable should have generated sufficient monies to pay the
monies due Summa, no monies are due or owing from the Debtor to Summa.

This law firm has reviewed the files and Pacer filings for the Debtor’s and Pace’s
bankruptcy filings, and we believe that no monies are owed by the Debtor to Summa.

With respect to another creditor, this law firm made a motion to reopen the Debtor’s
bankruptcy case, which was entered on June 6, 2018 [Doc. No. 58], and if this matter
cannot be resolved (with Summa providing the Debtor with a release) within ten (10)
days from the date of this letter, we will commence an adversary proceeding against
Summa for proposed findings of fact and conclusions of law: (1) ordering Summa to
provide a full accounting of its claim against the Debtor and any offsetting amounts
collected from Pace and Worldwide Flash Auto Parts, Inc. (“Flash”)’s inventory and
accounts receivable, including, but not limited to, the proceeds from Summa’s public
auction of Pace’s assets on Oct. 16, 2008; (2) for a declaratory judgment that there is a
rebuttable presumption that Summa’s public auction of Pace’s assets was not held in a
commercially reasonable manner; (3) for a declaratory judgment that since there is a
rebuttable presumption that the auction was not held in a commercially reasonable
manner, there is a rebuttable presumption that no monies are due or owing from Debtor to
Summa; (4) issuing an injunction barring Summa’s collection of its judgment against the
Debtor until it can successfully rebut the presumption that the public auction was not held
in a commercially reasonable manner in the Bankruptcy Court or a New York court of
competentjurisdiction; and (5) authorizing discovery of Summa’s loans to Pace, the
value of Pace’s inventory and accounts receivable and Summa’s disposition of Pace’s
assets.

For your review, attached please find a draft of a Summons and_Complaint by the Debtor
against Summa and an affidavit by the Debtor. Your attention to this matter is
appreciated

Sincerely,
/s/ James H. Shenwick

Attachments

UNITED STATES BANKRUPTCY COURT
SOUTI~IERN DlSTRlCT OF NEW YORK

 

 

X
In re Chapter 7
Case No. 08-12667-mkv
BOAZ BAGBAG,
Debtor.
--- X
AFFIDAVIT

STATE OF NEW YORK
COUNTY OF NEW YORK

BEFORE ME, the undersigned authority, personally appeared Boaz Bagbag, who being

by me first duly sworn, on oath says:

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I am currently 55 years old;

l was born in Israel and emigrated to the United States from lsrael in 1992. Although I
completed high school, I was not a strong student in languages; theret`ore, at the time of
the events described herein, my proficiency in English and my ability to read and write
Erlglish was limited, as was my understanding of bankruptcy law and how the American
legal system works;

Furthennore, I had no formal college or university education;

After l immigrated to the United States, l began to work in the auto parts industry;

On June 14, 2005, 1 incorporated Pace Product Solutions, lnc. (“Pace”), a New York
domestic business corporation that did business in Yonkers, New York. l was the chief
executive officer and majority shareholder of Pace;

Pace was a reseller and distributor of auto parts, with a principal place of business in
Yonkers, New York;

On or about January 10, 2006, Summa Capital Corp. (“Summa"’) and Pace entered into a
commercial financing arrangement by which Summa made working capital advances to
Pace that were secured by Pace’s inventory and accounts receivable, which were
guaranteed by me;

Under the terms of the financing agreement and revisions thereto, Summa would lend up
to 80% of Pace’s outstanding accounts receivable and up to 25% of Pace’s inventory;
Payments were timely made under the financing agreement until approximately March
2008;

In March 2008, as the country was entering a recession, Pace had difficulty making
payments to Summa;

At that time, Summa had apparently lent $357,021.82 to Pace based on the inventory of
Worldwide Flash Auto Parts, Inc. (“Flash”) (a Pace subsidiary), indicating that li lash had

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$1,190,072 in inventory;
The books and records of Pace also indicated that Pace itself had $1,459,508 in
inventory;
With respect to accounts receivable, the records indicated that Pace had $461,254 in
receivables and that Flash had $614,228 in receivables;
On or about March 20, 2008, Summa commenced an action against Pace in the
Commercial Division of the Supreme Court of the State of New York, Westchester
County, captioned Summa Cap_ital Corp. v. Pace Product Solutions, lnc., No. 5998/2008,
to recover the monies loaned by Summa to Pace;
Eventually, the Westchester court issued an order that effectively barred Pace from doing
any further business until Summa was repaid;
At the time, Pace and Flash had approximately $2.5 million in combined inventory and
more than $1 million in combined accounts receivable;
Based on the recession and the Westchester court’s order, I was forced to file for both
personal and business bankruptcy. lwas also separated from my wife, pending a divorce
and trying to support two young children;
1 hired Daniel M. Katzner, Esq. (“Katzner”), a young, relatively inexperienced lawyer
with a small storefront office in the Bronx to assist in both Pace’s and my individual
bankruptcy;
Pace’s bankruptcy petition, which was prepared by Katzner and dated July 10, 2008,
indicated that Summa had a claim for “$1,500,000 (Security interest in inventory valued
at $1,000,000)”;
This $1 million inventory figure was significantly incorrect;
On July 24, 2008, the United States Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”) issued an order barring Pace and its officers, directors,
and employees, including me, from entering its business premises in Yonkers;
In September 2008, in scheduling Pace’s assets, Katzner reported $315,906 in accounts
receivable and $l ,609,024 _in inventory',
These figures were also significantly incorrect;
The schedule was signed (under penalty of perjury) as “/s/ Boaz Bagbag”;
I did not sign this schedule and I did not authorize or approve a conformed signature l
also did not authorize Katzner to file that document with the Bankruptcy Court;
Further, had I known that the schedule reported barely $2 million in Pace assets, l would
not have signed or authorized the filing of that schedule;
On July 31, 2008, Pace’s chapter 7 bankruptcy trustee entered into a stipulation with
Summa, allowing Summa to take possession of all of Pace’s inventory and collect on the
accounts rcceivable; `
For the three days after Summa obtained the keys to Pace’s premises, I parked out front
of the premises in Yonkers and observed Summa employees and others removing Pace
inventory from the premises;
Upon information and belief, Summa continued to sell Pace’s inventory until October 10,
2008;
Finally, in mid-October 2008, more than two and a half months after Summa took
control of Pace’s inventory, an auction was Supposedly held, Which I never received
notice of;

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With respect to notice of the auction, paragraph 8 of the lnitial Financing Agreement
between Pace and Summa, which I guaranteed, provides that: “[Summa] shall have in
addition to all other rights provided herein, the rights and remedies of a secured party
under the Uniform Commercial Code of the State of New York, and further, [Summa]
may, without demand and without advertisement or notice, all of which [Pace
waives], at any time or times, sell and deliver any or all Receivables and any or all other
security and collateral held by or for you at public or private sale, for cash, upon credit or
otherwise, at such prices and upon such terms as [Summa] deems advisable, at
[Summa’s] sole discretion. Any requirement of reasonable notice shall be met if such
notice is mailed prepaid to [Pace] at our address as set forth herein at least five days
before the time of sale or other disposition” (emphasis added);

The above language may indicate why l did not get notice of the auction; the Summa
Financing Agreement provides that Summa may without advertisement or notice sell the
inventory, although l understand that such terms violate New York State Uniform
Commercial Code § 9-624(a). Upon information and belief no affidavit of service or
certificate ot`service was filed by Summa with the Bankruptcy Court, regarding service
of notice of the auction to me.

The auctioneer reports having sold all of Pace’s physical assets to MEP Auto, lnc. (“MEP
Auto”) on October 16, 200_8, with a description as follows: “Bulk bid for all assets
consisting of inventog pallet racking, metal shelving, ladders, carts Clark Forklift,
office furniture, office equipment, 1992 Chevrolet Suburban AstroEXT VlN
lGNDMl9Z4NBZl7325 and 1994 Dodge/Chrysler Utility RAM 350 VlN
285WB35Y8RK134215” (emphasis added);

As an experienced businessman With over 20 years of experience in the automotive and
auto parts business, l know that the term “inventory pallet racking” refers to racks that
hold parts and inventory, not the inventory itself;

Upon information and belief, no accounting was ever done by Summa or the Bankruptcy
Trustee detailing how much inventory Summa took control of and how much the
inventory was sold for;

Based upon my 20 years of experience in the automotive and auto parts industry and
simple common sense, car parts are highly marketable and if MEP Auto was the only
bidder, then the auction was improperly conducted;

Subtracting supposed fees and expenses, the auctioneer claimed only $411,848 in net
proceeds from the auction on $2.5 million in combined inventory (Pace and Flash),
with a net recovery of 16%;

With respect to the more than $l million in accounts receivable, Summa ultimately
claimed that (as of January 29, 2009) it had only collected $65,969;

Until very recently, l was entirely unaware of these low figures and the low recovery
claimed by Summa, Given that I understood that Summa had a claim for $1.5 million
and that Pace had millions in inventory and accounts receivable, l believed that Summa
had been paid in full. Indeed, l understood that Summa had profited from my
bankruptcy, collecting more than it was owed;

The July 31, 2008 stipulation between Summa and Pace’s chapter 7 trustee required
Summa to “provide the Trustee with (a) a written accounting of its sale and/or other
disposition of the Collateral [inventory and accounts receivable] not later than sixty

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(60) days after the completion of such sale or other disposition and (b) quarterly
reports of all of Summa’s collection of the Debtor’s accounts and accounts
receivable”;

Upon information and belief, no such accountings were ever provided or filed;
Almost two years after Summa took possession of Pace’s assets, and more than a year
and a half after Summa’s auction of Pace’s assets, on June 4, 2010, Katzner and Summa
entered into a stipulation in my personal bankruptcy case;

Under the terms of the stipulation, Katzner stated that “[I] hereby [agree] to except from
discharge and dischargeability Claim No. 13, filed on June 17, 2009”;

Katzner further stipulated to the entry “of a judgment [against me and] in favor of
Summa in the amount of $1,212,062.40”;

According to Katzner’s stipulation, Summa’s claim was for $1,697,183.91 and only
$485,121.54 had been collected, leaving $1,212,062.40 uncollected;

Katzner, alone, without my input, decided that Summa’s claim against me were not
dischargeable, although discharging debts and providing a “fresh start” is why l filed

`my chapter 7 Bankruptcy Petition and the goal of chapter 7 bankruptcy;

The stipulation to the judgment against me and in favor of Summa was signed by
Katzner. lt was not signed by me. Because I was unaware of the stipulation or its terms,
l did not and could not raise any objection at that time;

On June 8, 2010, the Bankruptcy Court signed an order granting judgment, based on the
stipulation, against me and in favor of Summa;

l never authorized an agreement to enter a judgment against me and in favor of Summa
for $1.2 million. Not only did 1 not authorize the j udgment, l would not have done so,
because l knew that Summa had been fully repaid through the sale of Pace’s inventory
and the collection of the accounts receivable;

1 never engaged in any conduct that suggested Katzner had authority to bind me to this
stipulation, I did not participate in any discussions with Summa concerning any proposed
settlement, or appear at any court proceedings where such a settlement was discussed;
The stipulation was entered on June 9, 2010 and the judgment against me and in favor of
Summa was entered on June 10, 2010;

The certificate of service indicates that the judgment was sent to an address at which I no
longer resided, and l never received notice of the judgment against me;

The order of final decree was entered in October 2011 in the Pace bankruptcy case and
the order of discharge and final decree was entered in my personal bankruptcy in
February 2012;

My understanding was that the nightmare of bankruptcy had concluded and that l could
resume my life with the “fresh start” offered by the Bankruptcy Code;

Almost seven years later, during the summer of 20]8, I received a notice from an
attorney. It indicated that Summa was attempting to collect on a debt from me;

I was quite surprised by this notice, because l believed that l did not owe any money to
Summa;

1 retained counsel to investigate the matter and was shocked to learn that Katzner had
stipulated to the entry of ajudgment against me and in favor of Summa. I never knew
about the 2010 stipulation and judgment until that time;

As noted above, I never authorized an agreement to enter a judgment against me and in

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STATE OF NEW YORK
COUNTY OF NEW YORK

On the l_O day of January in the year 2019 before me, the undersigned, personally appeared Boaz
Bagbag, personally known to me or proved to me on the basis of satisfactory evidence to be the
individual whose name is subscribed to the Within instrument and acknowledged to me that he
executed the same in his capacity, and that by his signature on the instrument, the individual, or
the person u on behalf of which the individual acted, executed the instrument

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favor of Summa for $1.2 million. lndeed, l would not have done so, as l knew that
Summa had been fully repaid through the sale of Pace’s inventory and the collection of
the accounts receivable',

When my counsel contacted Summa, they were was unwilling to provide records to
substantiate their claim against me; `

Pace’s chapter 7 trustee, to whom Summa was required to provide a written accounting,
has stated that his records are “in storage,” and l have to date not been provided with
those records;

When my counsel contacted Katzner to discuss the judgment, the valuation of the Pace
and Flash inventory and accounts receivable and an accounting of the sale of the Pace
and Flash inventory, he indicated that he doesn’t recall what happened or how and why
he managed to stipulate to a $1.2 million judgment;

Common sense and New York state law provide that a debt cannot be collected or paid
twice, and the facts of this case clearly demonstrate that all monies due Summa were or
should have been fully paid through the sale of the Pace and F lash inventory and the
collection of the Pace accounts receivable;

After filing for chapter 7 personal bankluptcy almost nine years ago, paying much money
to lawyers and after much time, effort, stress and aggravation, l do not have the “t`resh
start” which l am entitled to under chapter 7 of the Bankruptcy Code because Summa is
pursuing me for a debt which I believe was fully paid through the sale of Pace and Flash
inventory and the collection of Pace’s accounts receivable or otherwise discharged in my
chapter 7 bankruptcy filing.

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Dated: January _l_Q, 2019

 

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT ()F NEW YORK

 

 

In re: Chapter 7
BOAZ BAGBAG,
Debtor. Case No. 08-12667 (MEW)
BOAZ BAGBAG,
Plaintiff, Adversary Proceeding
No.
-against-

SllM MA CAPITAL C()RP.,

Defendant.

 

COMPLAINT FOR PROPOSED FINDINGS OF FACT AND CONCLUSIONS
OF LAW: (1) ORDERING THE DEFENDANT TO PROVIDE A FULL
ACCOUNTING OF ITS CLAIM AGAINST THE DEBT()R AND ANY
OFFSETTING AMOUNTS COLLECTED FROM PACE AND FLASH

INVENTORY AND ACCOUNTS RECEIVABLE, INCLUDING, BUT NOT
LIMITED TO, THE PROCEEDS FROM THE DEFENDANT’S PUBLIC
AUCTION OF PACE’S ASSETS ON OCT. 16, 2008; (2) FOR A
DECLARATORY JUDGMENT THAT THERE IS A REBUTTABLE
PRESUMPTION THAT THE DEFENDANT’S PUBLIC AUCTION OF PACE’S
ASSETS WAS NOT HELD IN A COMMERCIALLY REASONABLE
MANNER; (3) FOR A DECLARATORY JUDGMENT THAT NO MON| l~jS
ARE DUE OR OWING FROM DEBTOR TO DEFENDANT AND ISSUING AN
INJUNCTION BARRING THE DEFENDANT’S COLLECTION OF ITS
JUDGMENT AGAINST THE DEBTOR; AND (4) AUTHORIZING
DISCOVERY OF THE DEFENDANT’S LOANS TO PACE, THE VALUE OF
PACE’S INVENTORY AND ACCOUNTS RECEIVABLE AND THE
DEFENDANT’S DISPOSITION OF PACE’S ASSETS PURSUANT TO § 105

OF THE BANKRUPTCY CODE AND RULE 60 OF THE FEDERAL RULES
' OF CIVIL PROCEDURE

Plaintiff and Debtor Boaz Bagbag (the “Debtor”), as and for his Complaint against
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Defendant Summa Capital Corp. (the “Defendant”), respectfully alleges:

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JURlSDICTION
On July 10, 2008, the Debtor filed a voluntary petition (the “Petition”) for relief
under chapter 7 of Title ll of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the Southern District of New York.

This Complaint is timely because this Court has discretion under Rule 60(d) of the
Federal Rules of Civil Procedure to entertain an independent action to relieve a
party from a judgment and to set aside a judgment for fraud upon the court.

This is an adversary proceeding in which the Debtor is seeking proposed findings of
fact and conclusions of law: (1) ordering the Defendant to provide a full accounting
of its claim against the Debtor and any offsetting amounts collected from Pace
Product Solutions, Inc. (“Pace”)’s and Worldwide Flash Auto Parts, lnc. (“Flash”)’s
inventory and accounts receivable, including, but not limited to, the proceeds from
the Defendant’s public auction of Pace’s assets on Oct. 16, 2008; (2) for a
declaratory judgment that there is a rebuttable presumption that the Defendant’s
public auction of Pace’s assets was not held in a commercially reasonable manner;
(3) for a declaratory judgment that no monies are due or owing from Debtor to
Defendant; (4) issuing an injunction barring the Defendant’s collection of its
judgment against the Debtor unless and until it can successfully rebut the
presumption that the public auction was not held in a commercially reasonable
manner in this Court or a New York court of competent jurisdiction; and (5)
authorizing discovery of the Defendant’s loans to Pace, the value of Pace’s

inventory and accounts receivable and the Defendant’s disposition of Pace’s assets.

4. The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §

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1334, § 105 of the Bankruptcy Code and Rule 60 of the F ederal Rules of Civil

Procedure (as modified by Rule 9024 of the Federal Rules of Bankruptcy

Procedure).

This case is a non-core proceeding pursuant to 28 U.S.C. § 157(c)(1).
PARTIES

Plaintiff is the Debtor in the above-captioned case.

Defendant asserts that Plaintiff is a judgment debtor of the Defendant.

Defendant is a New York domestic business corporation with a principal executive

office at 350 Fifth Avenue, New York, NY 101 18.

PACE PRODUCT SOLUTIONS1 INC.

On or about June 14, 2005, the Debtor formed Pace, a New York domestic
business corporation with a principal executive office at 548 West 48th Street, New
York, NY 10036. Pace was a reseller and distributor of automobile parts.

On or about January 10, 2006, the Defendant and Pace entered into a commercial
financing arrangement (the “Initial Financing Agreement”) by which the Defendant
made working capital advances to Pace that were secured by Pace’s accounts
receivablel Simultaneously, Pace executed two security agreements granting the
Defendant security interests in its inventory and equipment and the Debtor executed
a guaranty of Pace’s debts to the Defendant.

Over the course of their business relationship, the Defendant increased Pace’s
credit line and allowed Pace to borrow additional monies based on a percentage of
its inventory, Copies of the Initial Financing Agreement and letters from the
Defendant revising the terms of the Initial Financing Agreement are attached

hereto as Exhibit A.

12. Paragraph 8 of the Initial Financing Agreement provides that:

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[Summa] shall have in addition to all other rights provided herein, the rights and
remedies of a secured party under the Uniforrn Commercial Code of the State of
New York, and further, [Summa] may, without demand and without
advertisement or notice, all of which [Pace waives], at any time or times, sell
and deliver any or all Receivables and any or all other security and collateral held
by or for you at public or private sale, for cash, upon credit or otherwise, at such
prices and upon such terms as [Summa] deems advisable, at [Summa’s] sole
discretion. Any requirement of reasonable notice shall be met if such notice is
mailed prepaid to [Pace] at our address as set forth herein at least five days before
the time of sale or other disposition
Pursuant to the terms of the Initial Financing Agreement and amendments thereto, Pace
was eventually able to borrow up to 80% of its net receivables up to a maximum of
$1,500,000 and up to 25% of its inventory,
In March 2008, Pace started having difficulty making payments to the Defendant and
on or about March 20, 2008, the Defendant commenced an action against Pace in the
Commercial Division of the Supreme Court of the State of New York, Westchester
County, captioned Summa Canital Corp. v. Pace Product Solutionst ln§., No.
5998/2008.
The Westchester County Supreme Court issued an order that effectively barred
Pace from continuing its business operations until it fully repaid the Defendant.
As a result, the Debtor felt compelled to seek bankruptcy protection for Pace and himself
individually
The Debtor retained a young and inexperienced attomey, Daniel M. Katzner, Esq.
(“Katzner”) as bankruptcy counsel for Pace and himself.
Pace and the Debtor both filed for bankruptcy in the Court on July 10, 2008 (the “Petition
Date”). Pace’s case number was 08-12666-mg. Pace’s case was initially filed as a case

under chapter 11 of the Bankruptcy Code but was subsequently converted to a case under

chapter 7 of the Bankruptcy Code on July 24, 2008.
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On July 16, 2008, the Defendant filed a motion for relief from the automatic stay in the
Pace bankruptcy case [Doc. No. 3].

On July 31, 2008, this Court “so ordered” a stipulation and order modifying the automatic
stay to permit the Defendant to foreclose on its Collateral under the Initial Financing
Agreement (the “Summa Foreclosure Order”) [Doc. No. 31], a copy of which is attached
hereto as Exhibit B.

The Summa Foreclosure Order provides that “Summa shall provide the Trustee with
[a} a written accounting of its sale gnd/or other disposition of the Collateral not later
than sixtv t60] days after the completion of such sale or other disposition and tb`,l
uuarterlt.l reports of all of Sl_lmma’s collection of the Debtor’s accounts and accounts
receivable” (at il 7).

Upon an extensive review of the Pace docl_(et renort. it appears that no written
accounting_of the disposition of Pace’s Collateral or reports of the Defendant’s
collection of Pace’s accounts and accounts receivable was ever provided to chapter 7
trustee Albert Togut, Esq., Togut &gal & Segal, LLP.

At the time of the Summa Foreclosure Order, Pace’s records indicated that it had
approximately $1,459,508 in inventory and $461,254 in net receivables and its wholly
owned subsidiary Flash had approximately $1,190,072 in inventory and $614,228 in net
receivables, for a combined total of $2,649,580 in inventory and $1,075,482 in net
receivables.

After the Defendant obtained the keys to Pace’s premises, the Debtor sat in a parked car in
front of Pace’s premises for three days and observed the removal of the Debtor’s property
(see Debtor’s Affidavit at 11 28).

On Sept. 16, 2008, Katzner filed Pace’s schedules [Doc. No. 51], which indicated that

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Pace had general customer accounts receivable of $315.906 (Schedule B, line 16) and
inventory consisting of miscellaneous auto parts with a value (at cost) of $1,609,024
(Schedule B, line 30).

Pace’s bankruptcy schedules, as prepared by Katzner were inaccurate (see Debtor’s
Affidavit at 1[1[ 20 and 23).

On Oct. 16, 2008, the Defendant held a public auction of Pace’s inventory and equipment,
which was sold to one buyer (MEP Auto, Inc.) for $525,000. A copy of the auctioneer’s
invoice is attached hereto as Exhibit C. However. Pace and the Debtor never received
notice of the Defendant’s p_t_lblic auction.

The net proceeds of the auction were allegedly $411,847.93. A copy of the remittance
report is attached hereto as Exhibit D.

lt strains credulity that $2,649,5 80 of car parts inventory netted $411,847.93 (16% of the
value of the inventory) at auction.

Moreover, the description of the assets sold at the auction is as follows: “Bulk bid for all
assets consisting of inventory pallet racking, metal shelving, ladders, carts Clark
Forklift, office furniture, office equipment, 1992 Chevrolet Suburban AstroEXT VfN
1GNDM19Z4NB217325 and 1994 Dodge/Chrysler Utility RAM 350 VlN
285WB35Y8RK134215.”

Inventorv pallet racking is racking that was used to hold or store the inventory and
is not the car parts inventorv.

The description of the auction references “inventorv pallet racking,” but does not
specificallyl reference Pace’s inventory, which1 as described above. totaled at least
$2.649,580 and represented the vast maioriti,l of Pace’s assets.

On June 17, 2009, the Defendant filed a Proof of Claim in the instant case [Claim No. 13]

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(the “Summa Proof of Claim”) in the amount of $1,697,183.91, based on the Debtor’s
guaranty of Pace’s debt as described above at il 10.

Exhibit H to the Summa Proof of Claim (which is attached hereto as Exhibit E) is a loan
status report for Pace (the “Loan Status Report”). The Loan Status Report is dated as of
Mar.13, 2008 and appears to detail four sublines of credit to Pace based on its collateral
and that of its wholly owned subsidiary Worldwide Flash Auto Parts, lnc. (“Flash”).
The first subline of credit, “Loan # PACOl ,” appears to be based on Pace’s inventory of
auto parts and had a limit of $500,000. The gross/net loan amount is listed as
$485,220.17.

The second subline of credit. “Loan # PAC02,” appears to be based on Flash’s net
receivables and had a limit of $400,000. The gross/net loan amount is listed as
$398,011.36.

The third subline of credit, “Loan # PAC03,” appears to be based on Pace’s net
receivables and had a limit of $300,000. The gross/net loan amount is listed as
$357,021.82.

The fourth and final subline of credit, “Loan # PAC 10,” appears to be based on Flash’s
inventory and had a limit of $255,000. The gross/net loan amount is listed as $255,000.
The grand total amount listed that Pace allegedly owed the Defendant for all sublines of
credit was $1,506,253.35; however, the total amount of the figures listed above is
$1,496,253.35, $10,000 less than the grand total amount on the Loan Status Report.

On June 9, 2010, a so ordered stipulation and order was entered in the instant case
regarding the dischargeability of the Defendant’s claim against the Debtor and consenting
to a judgment against the Debtor and in favor of the Defendant in the amount of

$1,212,062.40 (the “Summa Stipulation and Order”) [Doc. No. 104].

41. The so ordered stipulation and order was signed br Katzner and not bv the Debtor.

42. The Debtor never authorized Katzner to have this Court enter a jl_ldgment against
him and in favor of the Defendant for $1.2 million. Not onlyl did he not authorize the
judgment, he would not have done so, as he believed that the Defendant had bgll
fullyl repaid through its sale of Pace’s inventoryf and collection of Pace’s accounts
receivable (see Debtor’s Affidavit at il 49).

43. The Debtor never engaged in any condl_lct that suggested Katzner had authority to
enter into the Summa Stipulation and Order. The Debtor did not participate in anv
discussions with the Defendant concerning anyl proposed settlement or appear at ani'
court proceedings where such a settlement was discussed [see Debtor’s Affidavit at 1|
L)_.

44. On June 10, 2010, the Defendant’s judgment against the Debtor in the amount of
$1,212,062.40 was entered in the instant case [Doc. No. 105].

45. Also on June 10, 2010, this Court entered a certificate of service in the instant case of the
Defendant’s judgment against the Debtor via first-class mail to 304 East 78th Street, Apt.
5F, New York, NY 10021 [Doc. No. 106].

46. However, the certificate of service was mailed to an address that the Debtor no

longer resided at (see Debtor’s Affidavit at il 52).

COUNT l - PROPOSED FINDINGS OF FACI`S AND CONCLUSIONS OF LAW FOR AN
ACCOUNT[NG UNDER ti ll}S{A} OF THE BANKRUPTCY CODE

45. The Debtor repeats and re-alleges the allegations set forth in paragraphs 1 through
44 of this Complaint as if set forth at length herein.
46. Bankruptcy Code § 105(a) provides, in relevant part, that:
The court may issue any order, process, or judgment that is necessary or appropriate to
carry out the provisions of this title. No provision of this title providing for the raising of

an issue by a party in interest shall be construed to preclude the court from, sua sponte,
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taking any action or making any determination necessary or appropriate to enforce or
implement court orders or rules, or to prevent an abuse of process.

47. Since Summa failed to comply with the provisions of the Summa Foreclosure
Order regarding providing Pace’s chapter 7 trustee with a written accounting of the
public auction of the Collateral or quarterly reports of the Defendant’s collection of
Pace’s accounts and accounts receivable, in the interest of equity, this Court should
enter proposed findings of fact and conclusions of law ordering the Defendant to
provide a full accounting of its claim against the Debtor and any offsetting amounts
collected from Pace’s inventory and accounts receivable, including, but not limited
to, the proceeds from the Defendant’s public auction of Pace’s assets on Oct. 16,
2008,
COUNT II - PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW THAT
SINCE THE DEFENDANT BEARS THE |JLiRlll'i:‘~l OF PROOF THAT
ITS AUCTION OF PACE’S ASSETS WAS HELD IN A
COMMERCIALLY REASONABLE MANNER PURSUANT TO NY
UCC ARTICLE 9, THERE IS A REBUTTABLE PRESUMPTION
THAT THE DEFENDANT IS NOT ENTITLED TO PURSUE A
DEFICIENCY JUDGMENT AGAINST THE DEBTOR AND FOR AN
INJUNCTION AGAINST THE DEFENDANT’S COLLECTION OF
THE JUDGMENT FROM THE DEBTOR
48. The Debtor repeats and re-alleges the allegations set forth in paragraphs 1 through
47 of this Complaint as if set forth at length herein.
49. New York Uniforrn Commercial Code (“UCC”) § 9-611
governs notification before disposition of collateral.
50. New York UCC § 9-624(a) provides that “[a] debtor or
secondary obligor may waive the right to notification of
disposition of collateral under Section 9-611 only by an

agreement to that effect entered into and authenticated

after default.” (emphasis added).

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Since the Initial Financing Agreement was entered into prior to
Pace’s default, its waiver of notice provisions are void ab initio.
Furthermore, due to the low amount of the auction’s net
proceeds, it is highly unlikely that the Defendant’s public
auction of Pace’s assets was conducted in a commercially
reasonable manner.

NY UCC § 9-610(b) provides that “[e]very aspect of a
disposition of collateral, including the method, manner, time,
place, and other terms, must be commercially reasonable.”

NY UCC § 9-626 governs an action in which deficiency or

surplus is an issue and provides that:

[i]f the secured party’s compliance is placed in issue, the secured
party has the burden of establishing that the collection,
enforcement, disposition, or acceptance was conducted in
accordance with this part (at § 9-626(a)(2)) and that except as
otherwise provided in Section 9-628, if a secured party fails to
prove that the collection, enforcement, disposition, or
acceptance was conducted in accordance with the provisions
of this part relating to collection, enforcement, disposition, or
acceptance, the liability of a debtor or a secondary obligor
for a deficiency is limited to an amount by which the sum of
the secured obligation, expenses, and attorney's fees exceeds
the greater of: (A) the proceeds of the collection,
enforcement, disposition, or acceptance; or (B) the amount of
proceeds that would have been realize had the noncomplying
secured party proceeded in accordance with the provisions of
this part relating to collection, enforcement, disposition, or
acceptance (at § 9-626(a)(3)) (emphasis added)

Accordingly, since there is a rebuttable presumption that the
auction was not conducted in a commercially reasonable

manner, with no notice to the Debtor, no accounting to the

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Debtor or the Bankruptcy Trustee and the unreasonably low
sale price at the auction, there is a rebuttable presumption that
the Defendant is not entitled to seek a deficiency against
Plaintiff, based on the authority of NY UCC-9-626(a)(3).

In In re Winer, 39 B.R. 504 (Bankr. S.D.N.Y. 1984), this Court
considered the objection of joint chapter 13 debtors to a bank’s
claim for a deficiency judgment against them after a sale of
collateral, which the debtors contended was not held in a
commercially reasonable manner pursuant to Article 9 of the
UCC, based on the bank’s failure to notice the debtors of the
public sale of the collateral and the small return from the public
sale in relation to the market value of the collateral.

This Court held that “[i]n an action for a deficiency that
remains after a sale of the collateral, the secured creditor is
charged with the burden of affirmatively proving the
commercial reasonableness of the sale and that proper notice
was given to the debtor” (at 509) (internal citations omitted).

ln Tese-Milner v. TPAC. LLC jln re Ticketplanet.tht, 313
B.R. 46 (Bankr. S.D.N.Y. 2004), chapter 7 trustee Angela Tese-
Milner commenced an adversary proceeding against the
principals of the debtor and other entities for multiple claims for
relief, including conversion.

Tese-Milner “challenge[d] the foreclosure and the subsequent

auction of TPAC’s collateral and charge[d] that the sale was not

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properly noticed and was a sham.” This Court held that “[t]he
Trustee may have a claim under applicable State law for failure
to conduct a sale of property in a reasonable manner . . . lf the
auction was not conducted in accordance with applicable
standards, the Trustee has her remedy, and leave is granted to
the Trustee to plead a claim against the relevant parties for
failure to conduct an appropriate foreclosure sale.” IQ. at 69.

60. Therefore, given the Defendant’s failure to notice Pace or the
Debtor about the public auction of Pace’s assets and the
unusually low proceeds of the auction (as noted above at il 29, a
16% recovery on the value of Pace and its subsidiary’s
inventory), this Court should enter proposed findings of fact
and conclusions of law that there is a rebuttable presumption
that the Defendant’s public auction of Pace’s assets was not
held in a commercially reasonable manner and enjoining the
Defendant’s collection of its judgment against the Debtor unless
and until it can successfully rebut the presumption that the
public auction was not held in a commercially reasonable
manner in this Court or a New York court of competent

jurisdiction.

COUNT III- PROPOSED FINDINGS OF FACT AND
CONCLUSIONS OF LAW FOR A DECLARATORY JUDGMENT
THAT BASED ON THE FACT THAT DEBTOR DID NOT
RECEIVE NOTICE OF THE AUCTION, THAT THE AUCTION
WAS NOT HELD IN A COMMERCIALLY REASONABLE
MANNER, THAT THE AUCTIONEER AND DEFENDANT DID

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NOT PREPARE AN ACCOUNTING OF THE AUCTION SALE AS
REQUIRED BY A STIPULATION SO ORDERED BY THIS COURT
OR IDENTIFY THE AMOUNT OF MONIES GENERATED BY
THE SALE OF INVENTORY AND THAT THE SALE OF THE
PACE AND FLASH INVENTORY AND THE COLLECTION OF
THE PACE ACCOUNTS RECEIVABLE SHOULD HAVE
GENERATED SUFFICIENT MONIES TO PAY THE SUMS DUE
DEFENDANT, NO MONIES ARE DUE OR OWING FROM

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DEBTOR TO DEFENDANT
The Debtor repeats and re-alleges the allegations set forth in
paragraphs 1 through 60 of this Complaint as if set forth at
length herein.
Pursuant to NY UCC § 9-611, Defendant was required to give Plaintiff notice of the
auction, which provision cannot be waived prior to default pursuant to UCC § 9-
624(a), and since Debtor was not given notice of the auction (see Debtor’s Affidavit
at 111 30-32), there is a rebuttable presumption that the Defendant cannot seek a
deficiency judgment from the Debtor.
Since there is a rebuttable presumption that the auction was not
held in a commercially reasonable manner and that inventory
may have been sold that was not properly accounted for by the
auctioneer or the Defendant (see Debtor’s Affidavit at 111 28
and 29), there is a rebuttable presumption that Defendant cannot
seek a deficiency judgment from the Debtor.
Since there is a rebuttable presumption that the auction was not
conducted in a commercially reasonable manner, and the
auctioneer and the Defendant did not prepare an accounting of
the auction sale as required by the Summa Foreclosure Order or

identify the amount of monies generated by the sale of

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inventory (see Debtor’s Affidavit at 111 35, 40 and 41), there is a
rebuttable presumption that Defendant cannot seek a deficiency
judgment from the Debtor.

65. Since there is a rebuttable presumption that auction was not
held in a commercially reasonable manner, and the sale of the
Pace and Flash inventory and the collection of the Pace
accounts receivable should have generated sufficient monies to
pay the sums due the Defendant, there is a rebuttable
presumption that no monies are due or owing from the Debtor
to Defendant (see Debtor’s Affidavit at 1111 36-39).

66. Therefore, this Court should enter proposed findings of fact and
conclusions of law that no monies are due from Debtor to
Defendant.

COUNT IV- PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
AUTHORIZING DISCOVERY CONCERNING THE TRUE VALUE OF PACE’S
INVENTORY AND ACCOUNTS RECEIVABLE AND THE DEFENDANT’S
COLLECTION AND DISPOSAL OF PACE’S ASSETS PURSUANT T 0 PART VII OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND TITLE V OF THE
FEDERAL RULES OF CIVIL PROCEDURE

67. The Debtor repeats and re-alleges the allegations set forth in paragraphs 1 through 66
of this Complaint as if set forth at length herein.

68. To resolve this adversary proceeding, the Debtor will need to conduct discovery of,
inter alia, the Defendant’s loans to Pace, the value of Pace’s inventory and accounts
receivable and the Defendant’s disposition of Pace’s assets.

69. Therefore, this Court should enter proposed findings of fact and conclusions of law

authoring the Debtor to conduct discovery of the Defendant’s loans to Pace, the value

of Pace’s inventory and accounts receivable and the Defendant’s disposition of
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Pace’s assets.

WHEREFORE, the Debtor respectfully requests that this Court enter proposed findings
of fact and conclusions of law: (1) ordering the Defendant to provide a full accounting of its
claim against the Debtor and any offsetting amounts collected from Pace’s and Flash’s inventory
and accounts receivable, including, but not limited to, the proceeds from the Defendant’s public
auction of Pace’s assets on Oct. 16, 2008; (2) for a declaratory judgment that there is a rebuttable
presumption that the Defendant’s public auction of Pace’s assets was not held in a commercially
reasonable manner; (3) for a declaratory judgment that since the auction was not held in a
commercially reasonable manner, no monies are due or owing from Debtor to Defendant; (4)
issuing an injunction barring the Defendant’s collection of its judgment against the Debtor until it
can successfully rebut the presumption that the public auction was not held in a commercially
reasonable manner in this Court or a New York court of competent jurisdiction; and (5)
authorizing discovery of the Defendant’s loans to Pace, the value of Pace’s inventory and
accounts receivable and the Defendant’s disposition of Pace’s assets; and granting the Debtor
such other and further relief as this Court may deem just and proper.

Dated: New York, New York
January 9, 2019

/s/ James H. Shenwick
SHENWICK & ASSOCIATES
Attomeys for Debtor

122 East 42nd Street, Suite 620
New York, New York 10168
(212) 541-6224

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EXHIBIT A

FlNANClNG AGREEMENT

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January 8, 2008

via Fax #212.582-7241

Mr. Boaz Bag Bag
Preslden! _

Pace Product Solutlons, lnc.
545 Wesr 48”‘ Street
New.York, NY 10036

Re: Fin ancan Agreement dated January 10, 2006 & other Agreements

Dear=Boaz':
Tne'ebove referred to Financing Agreement is amended as follows:

1. The maximum amount that may be _or.rtstandlng at any ilme of $1,500,000.
shall have sub lines as follows:

P'acol -_$500,000.
Pa`cOZ - 400,000.
PacOS - 300,000.
Pac‘lO ~ 275,000. (Reduclng 10,000. a month from $350,000.)
_ All olher_lerms and conditions of the agreement shell remain in full force and
effect
. ."
_ lf the foregoing represents our understanding please sign below where indimted
and fax back. ' '

 
   

  

ward A. Schulder
resident » `

 

  
 
 

PACE r'>RoD c urroNs, lnc.

Boaz Beg resident

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Novembel 27, 2007

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Vla FaX#212~582-724‘l

Mr. Boaz Bag Bag
Presideni

Peae Product Solutlons, lnc.
648 W&l 48”° Sireet

New York N\’ 10036

Re: Flna nclng Agreement dalad January 10, 2006 & other Agreements

Dear BQBZZ
The above referred to Fmenclng Agreement' m amended as follows:

1. The ramiran amount that may be outstanding st any time of $1 500 000
shall have sch lines as follows:

_PacO‘l $600,.000
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October 16, 2007

Via Fax #212~582-7241

llflrv Boaz Bag Bag
President

Paw Product Snludons_, lnc.
548 west 48“‘ sireei

New Vorl<, NY 10038

Re: Financing Agreement dated January 10. 2006 & other Agreements

Dear Bc_laz!
The above referred to Financing Agreement is amended as follows:

1. The maximum amount that may be outstanding at any time of $1.500.000.
shall have sub lines as follows: `

PacGi - $650,000.
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`lf the foregolng represents our understanding please sign below where indicated
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President `

ReAD ANo AeREec) To;
PACE Pnooucr o u‘rIoNs, lnc.

B`y Bo Bag, Preslden'r

Oct.' 3. 2007 |1:43AM SUMMA CAPITAL

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October 3, 2007

Via Fax #212~582-7241

Mr. Boaz Bag Bag
Presiclent

Paoe Product Solutlons. lnc.
548 West 48”' street

New York, NY 10036

Re: Financing Agreement dated January 10, 2008 81 other F@reements

Dear Boaz:
The above referred to Finanan Agreement is amended as follows:

1. The maximum amount that may be outstanding at any time of $‘| ,500;000.
shall be sub lines as follows:

Pactlt - $650,000. ~'
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lf the foregoing represents our understanding please _slgn below where indicated
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award A Schulder
President

ner AND AGREED To:
PACE P_Roou' sol.unons, lnc.

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september 20, 2007
via Fax #212-582-7241

Mr. Boez Bao Bad .
President

Pace Product Solmons, lnc.
548 west 48‘“ street

New York, NY 10038

Re: Financing Agreement dowd January 10,_ 2006 & other Agreements

Dear Boaz:
The above referred to Financing Agreement is,amended no follows:

1. The maximum amount that may be outstanding at any time of $1.500,000.
shall be sub lines as follows: ‘

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PaoOZ- 300.000.
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Pao04- 350,000. (Redudng Baianoe)

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time foregoing represents our understanding please sign below where indicated
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READ AND AGREEo To:
PACE PRODUCT so ioNs, iNc.

  

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duly 31, 2007

Via Fax #212-582»7241

Mr. Boaz Bag B_ag -
President

Pace Product Soiutions, lnc.
548 Wesi 48m Slreet

New York, N¥ 10036

_ Re: Financing Agreement dated January 10, 2006 & other Agreements

Dear Boaz

The above referred to Financing Agreement ls amended as follows:

1.. The maximum amount lhal~méy be outstanding al any time shall increase
from $1,450,000.10 $1,500.000. You wril pay an additional annual facility fee

of $500. You now have the following sub iines:

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and fax back.
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READ AND AGREED TO:

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July 11,2007

Via Fax #212~582-7241

Mr. Ban Bag Bag

President

Pace Product Solutions, lnc.
540 wear 40"' Street

New York, NV 10036

Re_; Financing Agreement dated January 10, 2006 & other Agreements

Dear Boaz:.

The above referred to Financing Agreement is amended as follows:

1. The maximum amount that may be outstanding at any time shall increase
from $‘| .400,000. to $1,450,000. You will pay an additional annual facility fee

of 5500. You now have the following sub 'iines:

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PacDZ- 500,000. _
PacOS- 200.000.
Pacl'i4- 350,000.

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effect

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and fax baCK.

 

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READ AND AGREED TO:

  
 
 

PACE PRODU

   

Bag, President

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March 28 2007

via Fax #212-582:. 241 ’

Mr. Boaz Bag Bag
Fresidem .

Pace Product 8on ions, lnc.
548 West48“‘ Sil`€l et

New ¥ork, NY 100:36

-""ie: Financan Agreement dated Janu cry 10, 2006

Dear Boaz:
The above referred to Financing Agreement ls an rnded as follows:

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from $500,000. to $550,000. You wlii'pay an x ddltiona| annual foolli .y fee of
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Very yours
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READ AND AGRE ED TO;

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October 3, 2006
Via Fax #212-582-7241

Mr. Boaz Bag Bag
Fresident

Fece Produd Solutiono, lnc.
548 Wosi 48'* S¢i'cci

New York, N¥ 10036

Re: Financing Agreemeni dated January 10, 2006

Dwr Bo'az:
The above referred to Finandng Agreement is amended as follow

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from 5400.000. w $500.000» '\‘ou will pay an additional annual henry roe or
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Pacn‘l- $300, OOO.-- ~ ~ '
PacDS- 200. 000 - inventory advance rate increased to 30%.

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READ AND AGREED TO!

PACE PRODUCT , lNC.
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June 28, 2006

Vla Fax #212-582-7241

Mr.-Boaz Bag Bag
President

Pace Product Solutio`ns, lnz;
548 west 48*‘ street

New Vofk, NY 10036

Re: anolng Agreement dated January 10, 2006

Dear Boaz:
The above referred to Financan Agreement ls amended as follows:

1. The maximunl amount that may be outstanding at any time shall increase
from $300,000. to_ $400,000. ‘(clu will pay an additional annual facility fee cf
$1,00_0. You now have the following sub l'lnesc

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All other terms and conditions of the agreement shall remain in full force and
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lf the foregoing represents our understanding please sign below where lndlcated
and fax back

 

, READ AND AGRF.ED To;
PACE Pnooucr soLuTlolls, mc.
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By ./

ag. President

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May 2. 2008
Vla Fall #212682-7241
Ml’. Bdoz Bag Bag
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Pace product Sdlutiona. lnc.
548 Wes'i 48"`$¢!5¢1

New ¥ork, NY 10036

R¢; Flnq\t:lng Agreement dated January 10.‘2006

Dear Bqaz!
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www.cimml\clp!d.m_
March 24. 2006
via l=aor #212-582-7241' "
Mr. Boaz Bag‘ Bag
Prosidettt
Pace Product Seiutions, inc.
548 Wesl 48*‘ Srre¢t

New York, NY 10036

Re: Financing Agreementde January 49, 2006

Dear Boaz:
The above referred to Financing Agreement.is amended~as follower

1.Thé riléximmn amount that may bé outstanding at any time shali‘ increase
from $200 OOO; to $250 000. You wiH pay an additional annualfaciilty~fee of
$500. You now have the following sub lines:

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PacOZ ~ 50,-000;
Pac03 - 50.000.
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tr the foregoing represents our understanding please sign below where indicated
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'Pr&lide.nt

READ AND AGREED TO:

PACE PRODUCT Wmoa
By . _ l /
aan BW€$T&m l

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Viale #2|2-582~7241

Mr. Boaz Bagbag

Pace Product Snluv'ons, lnc.
548 wax 48* Sm=u

N¢w York, NY 10036

Re: Financing Agrem=m dated: lamu\ry 10..2006

Dear Boaz:

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$50,000. secured by your inventory You may borrow up to 25% nfyour inventory up to a
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wh month Your total lincde now be $200,000. you will pay m additional l% annual
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EXHIBIT B

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

In re: : Chapter 7
Casc No. 08-12666 (MG)

Pace Product Solutions, lnc.,
Debtor.

X

 

STIPULATION AND ORDER MODIFYING STAY TO PERMIT
FORECLOSURE BY SUMMA CAPITAL CORPORATION
AND OTHER RELIEF
WHEREAS, the above referenced Debtor Pace Product Solutions, lnc.
(the “Debtor”) entered into a Financing Agreement, Sccurity Agreement - lnvcntory and
Security Agreement - Equipment, each dated January lO, 2006 (collcctively, as amended
from time to time referred to as the “Summa Agreements”) with Summa Capital
Corporation (“Summa”) pursuant to which the chtor granted a security interest (the
“Lien”) in favor of Summa in all existing and after-acquired property of the Debtor, to
secure payment of the Debtor’s indebtedness to Summa on account of existing and future

loans from Summa, including the following:

All present and future accounts and contract rights, including all related documents,
instruments and chattel paper, and all present and future general intangibles;

Al] present and hereinafter acquired inventory of debtor, wherever located, including raw
materials, work in process, finished goods, finished merchandisc, and Wrapping, packing
and shipping materials;

All present and hereinafter acquired equipment of debtor, wherever locatcd, together with
all additions, rcplaccmcnts, accessions and improvements, thcreto; and

Procecds of all the foregoing
(collectively, the "Collatcral"); and

WHEREAS, on January ll, 2006, Summa perfected its Licn against thc

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Collateral by recording a UCC Financing Statement with the New York Secretary of
State (filing no. 200601]18013030); and

WHEREAS, on July 10, 2008 (the “Filing Date”), the Debtor filed a
voluntary petition for relief under Chapter l 1 of Title l l of the United States Code (the
“Banl<ruptcy Code”) in the United States Bankruptcy Court for the Southern District of
New York (the “Court”) and pursuant to Order Converting Chapter ll Case to a Case
under Chapter 7 and Limiting Access to Debtor’s Business Premises dated July 24, 2008,
this Court converted the Debtor’s Chapter ll case to a Chapter 7 case; and

WHEREAS, on the Filing Date, Summa asserts that it was owed not less
than $1,697,1|§3.9|, W|ticlt includes principal and interest through the Filing Date and
attomeys' fees and expenses through May 31, 2008, together with interest that continues
to accrue and all of Summa’s attomeys’ fees, costs, and expenses incurred thereafter (the
“Summa Claim”); and

WHEREAS, Albert Togut is the Chapter 7 Interim Trustee of the Debtor,
(the “Trustee”); and

WHEREAS, Trustee has retained Togut, Segal and Segal LLP as his
counsel (“TS&S”) and will be submitting retention papers to the Court; and

WHEREAS, Summa asserts that the Summa Claim exceeds the value of
the Collateral; and

WHEREAS, with the Trustee’s permission, Summa has safeguarded and
protected the Collateral at the Debtor’s premises located at 122 School Street, Yonkers,
New York (the “Premises”) by changing the locks at the Prcmises. at no cost to the
Debtor’s estate, but without prejudice to Summa’s right to increase the Summa Claim by
the costs incurred by Summa in connection with the foregoing actions; and

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WHEREAS, the parties hereto have agreed to the terms set forth below to
allow Summa to exercise its rights as a secured creditor of the Debtor.

NOW, THEREFORE, IT IS HEREBY AGREED BY AND
BETWEEN THE UNDERSIGNED PARTIES THAT:

l. This Stipulation and Order shall become immediately effective
upon entry by the Court.

2. The automatic stay pursuant to section 362 of the Bankruptcy Code
is modified to permit Summa to exercise its rights as a secured creditor of the Debtor
against the Collateral under (i) the Summa Agreements, (ii) the Uniform Commercial
Code and (iii) other applicable law, including, without limitation, to take all actions
necessary to enforce its security interest in the Collateral, collect accounts receivable, sell
inventory, equipment and other Collateral, and apply all net proceeds, after payment of
Summa’s expenses, attorneys' fees and other costs, in reduction of the Summa Claim, but
which relief from stay expressly excludes all avoidance claims, in favor of the Trustee
and the Debtor’s estate pursuant to Chapter 5 of the Bankruptcy Code, that do not relate
in any way to the Collateral to which Summa’s liens do not attach.

3. Summa is authorized to take possession of the Collateral and all
hooks and records relating to the Collateral, including those maintained electronically on
compuler. Summa will provide the Trustee and his professionals access to the Debtor’s
books and records during normal business hours upon reasonable request, and shall not
dispose of the books and records without prior written notice to the Trustee, which notice
shall provide the Trustee with an opportunity to take possession of the books and records
or object to the disposal thereof (subject to the Trustee’s agreement to take possession of

the books and records).

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4. The Trustee shall turn over to Summa (a) in kind all collections
with respect to Summa’s accounts receivable and other Collateral now or hereafter in the
Trustee’s possession or control, and (b) any and all sums in the Debtor’s bank account(s)
promptly upon the Trustee learning of the existence of such account(s), and Summa is
hereby authorized to give the banks holding such account(s) all necessary instructions
with respect to the turnover of all deposits in such account(s) to Summa.

5. Summa is authorized to take all actions necessary to recover the
Collateral from the Debtor’s principal, Boaz Bagbag, and all third parties now or
hereafter in possession of the Collateral, and all such persons are directed to promptly
turn over the Collateral to Summa,

6. Summa shall provide advance notice to the Trustee regarding the
sale or other disposition of the Collateral.

7. Summa shall provide the Trustee with (a] a written accounting of
its sale and/or other disposition of the Collateral not later than sixtyr (60) days after the
completion of` such sale or other disposition and (l_)Lquarterly reports of all of Summa’s
collection of the Debtor’s ae_cotmts and accounts receivable,

8. Should there be any surplus resulting after the collection, sale
and/or other disposition of the Collateral, after payment of the reasonable attorneys' fees,
costs and expenses incurred by Summa in connection with the foregoing and full
payment of the Summa Claim, Summa shall remit such surplus to the Trustee.

9. The Trustee and Summa reserve all of their rights, claims and
defenses, including pursuant to ll U.S.C. Section 506(c), except as expressly set forth in
this Stipulation.

10. ln the event that the Court does not approve this Stipulation, it

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shall be null and void and of no force and effect.

ll. Simultaneously With the submission of this Stipulation and Order
to the Court, Summa shall provide a copy of this Stipulation and Order by email or
facsimile to: (i) the Trustee’s counsel; (ii) the United States Trustee; (iii) the Debtor’s
counsel; (iv) Bondi & Iovino, attn: Debra Welsh, Esq. and Law Office of Robert Jay
Gumenick, Esq., attn: Robert Jay Gumenick, who appeared at the Court's hearing on July

21, 2008 on Summa’s motion for relief from stay and other relief on shortened notice;

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and (v) any party that has filed a Notice of Appearance in this case. The parties hereto request
that upon entry of an Order approving this Stipulation, the Court find that such notice is good
and sufficient and that no further notice is required.

DATED: New York, New York
July 31, 2008

ALBERT TOGUT,

By his attorneys,

TOGUT SEGAL & SEGAL LLP
By:

/s/ Neil Berger
NEIL BERGER (NB-3599)
A Member of the Firm

One Penn Plaza, Suite 3335
New York, New York lOl l9
(212) 594-5000

 

SUMMA CAPITAL CORPORATION
By its attorneys,

LOWENSTEIN SANDLER PC

By:

/s/ Bruce S. Nathan

BRUCE S. NATHAN (BN-4844)
BRUCE BUECHLER (BB-3278)
Members of the Firm

1251 Avenue of the Americas
New York, New York 10020
(212) 262-6700

 

SO ORDERED on this 315t day of July, 2008
in New York, New York

/s/Martin Glenn
HONORABLE MARTIN GLENN
UNITED STATES BANKRUPTCY JUDGE

EXHIBIT C

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DALEY-HODKIN LLC

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SIGNATURE:

EXHIBIT D

PACE FRODUCT $DLUTIONS, INC.
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EXHIBIT E

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United States Bankruptcy Court
Southern District of New York

ln re
BOAZ BAGBAG,
Bankruptcy
Case No. 08-12667 (MEW)

Debtor(s)
BOAZ BAGBAG
Plaintiff(s) Adversary
SUMMA CAPITAL CORP. PrOCe€ding NO.
Defendant(s)

SUMMONS AND NOT|CE OF PRETR|AL CONFERENCE
lN AN ADVERSARY PROCEED|NG

¥OU ARE SUMMONED and required to submit a motion or answer to the complaintwhich is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall submit a motion or answer to the complaint within 35
days, to:

 

United States Bankruptcy Court, Southern District of New York
One Bowling Green
New York, New York 10004-1408

 

 

 

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At the same time, you must also serve a copy of the motion or answer upon the plaintist attomey,

 

Name and Address of Plaintiff's Attorney:

James H. Shenwick, Esq., Shenwick &
Associates, 122 East 42nd Street, Suite 620,
New York, NY 10168

 

 

 

|f you make a motionl your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOT|F|ED that a pretrial conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place:

 

United States Bankruptcy Court Room:
Southern District of New York
One Bowling Green _
New York, NY 10004-1408 Date and T'mef

 

 

 

 

 

lF YOU FA|L TO RESPOND TO TH|S SUMMONS, YOUR FA|LURE WlLL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGA|NST YOU FOR THE REL|EF DEMANDED lN THE COMPLAINT.

/sl

C/erk of the Bankruptcy Court

By: /s/

 

Date Deputy Clenk

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